        Case 2:16-cv-01393-JP Document 100 Filed 12/03/19 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHAWN PATRCIK O'LEARY                                )
                                                     )
                       Plaintiffs                    )
                                                     )
                                                     )
       V.                                            )
                                                     )               No. 16-1393
                                                     )
WEXFORD HEALTH SOURCES, INC.,                        )
ETAL.                                                )
              Defendants,                            )

                                      NOTICE OF APPEAL

Notice is hereby given that Sonia Perez Chaisson pro hac vice Counsel for the named plaintiff
above appeals to the United States Court of Appeals for the Third Circuit from the order issued
November 20, 2019 and the order denying the motion to reconsider issued on December 3, 2019
in the United States District Court for the Eastern District of Pennsylvania. The Authority for this
personal right of appeal of an order finding misconduct and imposing discipline for the
misconduct is established by Adams v. Ford Motor Co., 653 F.2d 299, 304-06 (3d Cir. 2011),
Bowers v. NCAA, 475 F.3d 524 (3d Cir. 2007), and Butler v. Biocore Med. Techs., Inc., 348 F.3d
1163 (10 th Cir. 2003) and the cases named therein.


       Dated this December 3, 2019            By:    Isl Sonia Perez-Chaisson
                                                      SONIA PEREZ-CHAISSON
                                                      2801 OCEAN PARK BLVD SUITE 361
                                                      SANTA MONICA, CA 90405
                                                      310-773-8788
        Case 2:16-cv-01393-JP Document 100 Filed 12/03/19 Page 2 of 4



                                      Certificate of Service

        I hereby certify that on December 3, 2019 I mailed this notice of appeal to be filed by the
clerk and that conforming copies were sent by first class United States mail postage prepaid or
by using the CM/ECF system which will send notification of such filing to the following:



JOHN L. ROLLINS
1408 BURKE ROAD
WEST CHESTER, PA 19380
215-512-4219

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PHILADELPHIA, PA 19103
215-972-7900


This 3rd Day of December 2019.

                                                     Isl Sonia Perez-Chaisson
                                                     SONIA PEREZ-CHAISSON
                                                     2801 OCEAN PARK BLVD SUITE 361
                                                     SANTA MONICA, CA 90405
                                                     310-773-8788
        Case 2:16-cv-01393-JP Document 100 Filed 12/03/19 Page 3 of 4




                                   Sonia Perez Chaisson
                                  2801 Ocean Park Drive ·
                                 Santa Monica, CA 90405
                                      310-773-8788

United States District Court
For the Eastern District of Pennsylvania
James A. Byrne U.S. Courthouse
601 Market Street suite 2609
Philadelphia, PA 19106


Re: O'Leary v. Wexford Health Sources, Inc. Docket Number 16-cv-1393



Dear Clerk:
       Please find the enclosed Notice of Appeal in O'Leary v. Wexford Health Sources, Inc. to
the Order docketed November 20, 2019 as Docket Entry 87 and the Order docketed December 2,
2019 as Docket Entry 99. Ms. Chaisson has been told that the case has been settled. Ms
Chaisson assert the authorities of Adams v. Ford Motor Co., 653 F.2d 299, 304-06 (3d Cir. 2011)
and Bowers v. NCAA, 475 F.3d 524 (3d Cir. 2007) as providing her a personal right of appeal
from the Court's order without regard to Mr. O'Leary's personal representative's position or
settlement of this case. I have enclosed a check for the appeal fee.
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